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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF VIRGINIA

                            Alexandria Division


 ______________________________
                               )
 INTRACOMM, INCORPORATED,      )
 et al.,                       )
                               )
           Plaintiffs,         )
                               )
 v.                            )         Civil Action No. 05-0955
                               )
 KEN S. BAJAJ, et al.,         )
                               )
           Defendants.         )
 ______________________________)

                            MEMORANDUM OPINION

       This matter comes before the Court on cross motions for

 summary judgment by Plaintiffs and Defendants. Plaintiffs filed

 suit against Defendants alleging failure to pay minimum wage in

 violation of the Fair Labor Standards Act (FLSA), 29 U.S.C. §§

 201-219 (2000) (Count 2), breach of contract (Count 3), actual

 fraud (Count 4), constructive fraud (Count 5), conspiracy in

 violation of Va. Code Ann. §§ 18.2-499 to -500 (2004) (Count 6),

 and false advertising in violation of Va. Code Ann. §§ 18.2-216,

 59.1-68.3 (Count 8). Plaintiffs’ Amended Complaint also requests

 declaratory judgment (Count 1) and equitable accounting (Count

 7). The Court has jurisdiction over Plaintiffs’ Amended Complaint

 pursuant to 28 U.S.C. §§ 1131, 1367.

       Plaintiff IntraComm, Inc. (IntraComm) is a corporation whose

 principal place of business is in the Commonwealth of Virginia.
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 IntraComm is a software developer and information technology

 service provider. Plaintiff Babak Habibi (Habibi) is one of the

 founders of IntraComm and the creator of a software integration

 system known as IC-WEL.

       Defendant BAE Systems Information Technology, LLC (BAE IT

 LLC), formerly known as DigitalNet Government Solutions, LLC

 (DigitalNet LLC), is a limited liability corporation whose

 principal place of business is in the Commonwealth of Virginia.

 BAE IT LLC is an information technology service provider and is a

 wholly owned subsidiary of BAE Systems IT, Inc. (BAE IT Inc.),

 formerly known as DigitalNet, Inc. (DigitalNet Inc.). BAE IT Inc.

 is a wholly owned subsidiary of Defendant BAE Systems IT

 Holdings, Inc. (BAE IT Holdings), formerly known as DigitalNet

 Holdings, Inc. (DigitalNet Holdings). BAE IT Holdings is a

 corporation whose corporate offices are in the Commonwealth of

 Virginia. BAE IT Holdings is a wholly owned subsidiary of

 Defendant BAE Systems, Inc. (BAE). BAE is a subsidiary of BAE

 Systems, PLC, a British corporation.

       At all relevant times to this matter, Defendant Ken Bajaj

 (Bajaj) and Defendant Jack Pearlstein (Pearlstein) held positions

 of importance within DigitalNet LLC and DigitalNet Holdings.

 Bajaj served as chairman and CEO of both DigitalNet LLC and

 DigitalNet Holdings. Pearlstein served as Senior Vice President

 and Assistant Secretary of DigitalNet LLC and CFO of DigitalNet


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 Holdings. At all relevant times to this matter, Defendant Steven

 Hanau (Hanau) served as President of DigitalNet LLC.

       DigitalNet Holdings was formed in September 2001 by Bajaj,

 Pearlstein, and others. In November 2002, through its wholly

 owned subsidiary DigitalNet Inc., DigitalNet Holdings acquired

 Getronics Government Solutions, LLC, which was subsequently

 renamed DigitalNet LLC. Hanau joined DigitalNet LLC in January

 2002. At all relevant times to this matter, DigitalNet LLC was a

 wholly owned subsidiary of DigitalNet Inc., which was a wholly

 owned subsidiary of DigitalNet Holdings.

       In Spring 2004 Habibi proposed to Bajaj and Pearlstein that

 he be allowed to use the DigitalNet LLC name to market IC-WEL.

 Pursuant to Habibi’s proposal, DigitalNet LLC and IntraComm

 entered into an agreement on August 16, 2004, entitled “Agreement

 for Assignment of Contracts and Grant of Rights in Data”

 (Assignment Agreement). The Assignment Agreement provided for the

 transfer of certain IntraComm contracts to DigitalNet LLC, the

 transfer of certain rights in IC-WEL to DigitalNet LLC, and the

 employment of certain IntraComm employees by DigitalNet LLC. In

 conjunction with the Assignment Agreement, DigitalNet LLC and

 Habibi entered into an agreement on August 16, 2004, entitled

 “General Employment Agreement” (Employment Agreement). The

 Employment Agreement provided the terms and conditions of

 Habibi’s employment with DigitalNet LLC. Both the Assignment


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 Agreement and the Employment Agreement contain entire agreement

 clauses which provide that the respective agreements supersede

 all previous agreements and representations and contain the

 entire understanding between the parties.

       In Summer 2004 BAE began negotiating a purchase of

 DigitalNet Holdings’ outstanding shares. As DigitalNet Holdings

 was a publicly traded company, information regarding the

 potential BAE acquisition was kept confidential and was only

 disclosed to DigitalNet Holdings’ most senior executives. As a

 result, neither IntraComm nor Habibi were advised of the

 potential BAE acquisition before August 16, 2004. On September

 11, 2004, BAE and DigitalNet Holdings entered into an agreement

 whereby BAE purchased DigitalNet Holdings outstanding shares. The

 BAE acquisition was completed on October 25, 2004, at which time

 DigitalNet Holdings changed its name to BAE IT Holdings,

 DigitalNet Inc. changed its name to BAE IT Inc., and DigitalNet

 LLC changed its name to BAE IT LLC.

       Upon completion of the BAE acquisition, Bajaj and Pearlstein

 left the newly named BAE IT LLC. Hanau, who had been running the

 day-to-day operations of DigitalNet LLC since 2002, remained with

 the company after its change to BAE IT LLC. Hanau continues to

 run the day-to-day operations of BAE IT LLC as its General

 Manager.




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       Courts must grant summary judgment if the moving party

 demonstrates “that there is no genuine issue as to any material

 fact and that the moving party is entitled to judgment as a

 matter of law.” Fed. R. Civ. P. 56(c). In reviewing a motion for

 summary judgment, courts view the facts in a light most favorable

 to the non-moving party. Anderson v. Liberty Lobby, Inc., 477

 U.S. 242, 255 (1986). Once a motion for summary judgment is

 properly made and supported, the opposing party then has the

 burden of showing that a genuine dispute as to any material fact

 does exist. Matsushita Elec. Indus. Co., Ltd. v. Zenith Radio

 Corp., 475 U.S. 574, 586-87 (1986). The mere existence of some

 alleged factual dispute between the parties will not defeat an

 otherwise properly supported motion for summary judgment; the

 requirement is that there be no genuine issue of material fact.

 Anderson, 477 U.S. at 248. “Rule 56(e) requires the non-moving

 party to go beyond the pleadings and by [his] own affidavits, or

 by the ‘depositions, answers to interrogatories, and admissions

 on file,’ designate ‘specific facts showing that there is a

 genuine issue for trial.’” Celotex Corp. v. Catrett, 477 U.S.

 317, 324 (1986).

       Count 1 of Plaintiffs’ Amended Complaint requests

 declaratory judgment against BAE IT LLC, BAE IT Holdings, and BAE

 (Count 1 defendants) on four different issues: (1) whether Habibi

 was a non-exempt employee entitled to wages under the FLSA, (2)


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 whether the non-compete clause in the Employment Agreement is

 enforceable, (3) whether Habibi is entitled to compensation as a

 Vice President of BAE IT LLC, and (4) whether the Count 1

 defendants exercised BAE IT LLC’s option to purchase IC-WEL. Each

 of these issues will be discussed in turn.

       First, as stated below in the Court’s discussion of Count 2

 of Plaintiffs’ Amended Complaint, Habibi is a non-exempt employee

 under the FLSA, therefore Plaintiffs are entitled to summary

 judgment on issue one. Second, BAE IT LLC has expressly waived

 its right to enforce the non-compete clause of the Employment

 Agreement, therefore, issue two is moot. Third, both the

 Assignment Agreement and the Employment Agreement contain entire

 agreement clauses, and neither provides Habibi Vice President

 compensation, therefore, the Count 1 defendants are entitled to

 summary judgment on issue three. Fourth, as stated below in the

 Court’s discussion of Count 3 of Plaintiffs’ Amended Complaint,

 the Count 1 defendants did not exercise BAE IT LLC’s option to

 purchase IC-WEL, therefore, the Count 1 defendants are entitled

 to summary judgment on issue four.

       Count 2 of Plaintiffs’ Amended Complaint alleges that BAE IT

 LLC willfully violated the FLSA by failing to pay Habibi at least

 minimum wage for hours he worked while employed by BAE IT LLC.

 The parties have stipulated that Habibi was not paid for 220

 hours that he worked in excess of forty hours per week, totaling


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 $1133.00 (220 hours at $5.15 per hour). The parties have also

 stipulated that Habibi was not paid for eighty hours that he

 worked from May 7, 2004, to May 20, 2004, totaling $560.00

 (eighty hours at $7.00 per hour). The only issues before the

 Court regarding Count 2 of Plaintiffs’ Amended Complaint are

 whether Habibi was a non-exempt employee under the FLSA and

 whether any failure by BAE IT LLC to pay wages to Habibi was

 willful.

       The FLSA provides that “[e]very employer shall pay to each

 of his employees who in any workweek is ... employed in an

 enterprise engaged in commerce ..., wages at the following

 rate[]: ... $5.15 an hour.” 29 U.S.C. § 206(a). While the FLSA is

 wide reaching in its scope, specific exemptions are provided.

 Specifically, the provisions of § 206 do not apply to “any

 employee employed in a bona fide ... administrative ... or

 outside salesman” capacity. 29 U.S.C. § 213(a). Despite BAE IT

 LLC’s argument to the contrary, neither of these exemptions

 applies to Habibi.

       The outside salesman exemption requires that an employee’s

 primary duty be “making sales,” and that an employee be

 “customarily and regularly engaged away from the employer’s place

 or places of business in performing such duty.” 29 C.F.R. §

 541.500 (2005). While Habibi’s employment with BAE IT LLC clearly

 meets the primary duty prong of the outside salesman exemption,


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 Habibi did not customarily and regularly work outside of BAE IT

 LLC’s offices. During Habibi’s employment with BAE IT LLC,

 approximately ten months, he only went on four sales calls

 outside BAE IT LLC’s offices. Habibi primarily worked at BAE IT

 LLC’s Headquarters where he used its Enterprise Management Center

 (EMC) to market IC-WEL. Therefore, the outside salesman exemption

 does not apply to Habibi.

       The Administrative employee exemption contains a minimum

 salary requirement of $455.00 per week. 29 C.F.R. §

 541.200(a)(1). Habibi was never paid more than $280.00 per week,

 therefore, the administrative employee exemption does not apply

 to Habibi. Nevertheless, BAE IT LLC argues that Habibi is exempt

 under the FLSA combination exemption. 29 C.F.R. § 541.708. The

 combination exemption provides that “[e]mployees who perform a

 combination of exempt duties ... may qualify for exemption.” Id.

 However, the combination exemption does not apply to Habibi

 because he does not qualify for either the outside salesman or

 administrative employee exemption.

       Finally, there is no evidence that BAE IT LLC’s failure to

 pay Habibi wages under the FLSA was willful. The undisputed

 evidence is BAE IT LLC’s classification of Habibi as an exempt

 employee under the combination exemption was done in good faith.

 See Id. While such a classification was incorrect, as stated

 above, there is no evidence that the BAE IT LLC’s incorrect


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 classification of Habibi was intentional or willful. Therefore,

 Plaintiffs are entitled to summary judgment on Count 2 of

 Plaintiffs’ Amended Complaint, and judgment should be entered for

 Habibi in the amount of $1693.00.

       Count 3 of Plaintiffs’ Amended Complaint alleges breach of

 contract by BAE IT LLC and BAE. Specifically, Plaintiffs claim

 that BAE IT LLC and BAE violated the terms of the Assignment

 Agreement and the Employment Agreement by (1) failing to pay

 Habibi a portion of the revenues earned on certain contracts, (2)

 failing to provide Habibi the financial backing and support

 necessary to successfully market IC-WEL, (3) refusing to allow

 Habibi to manage BAE IT LLC’s EMC, and (4) exercising BAE IT

 LLC’s option to purchase IC-WEL without paying the $1.5 million

 purchase price.

       The Assignment Agreement provides for the transfer of

 certain IntraComm contracts to DigitalNet LLC. Pursuant to the

 Assignment Agreement, a portion of the revenue generated by those

 contracts was to be divided on a quarterly basis between Habibi

 and his staff when the earliest of one of the following four

 conditions were satisfied: (1) two years passed from the date the

 Assignment Agreement was entered into; (2) the cumulative profits

 generated by those contracts exceeded $750,000.00; (3) the top

 three members of Habibi’s staff converted to standard DigitalNet

 LLC compensation; or (4) by mutual agreement of the parties. The


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 undisputed evidence is that none of these conditions were

 satisfied. Habibi’s employment was terminated within a year of

 the Assignment Agreement, cumulative profits generated by the

 transferred IntraComm contracts never exceeded $750,000.00, no

 members of Habibi’s staff converted to standard DigitalNet LLC

 compensation, and the parties never agreed to pay Habibi revenue

 sharing. Likewise, Habibi is not entitled to commissions under

 the Assignment Agreement because zero IC-WEL licenses were sold

 while Habibi was employed by BAE IT LLC.

       Any alleged refusal by BAE IT LLC or BAE to allow Habibi to

 manage the EMC is irrelevant to Count 3 of Plaintiffs’ Amended

 Complaint. The Assignment Agreement and the Employment Agreement

 both contain entire agreement clauses that provide that the

 respective agreements supersede all previous agreements and

 representations and contain the entire understanding between the

 parties. Therefore, BAE IT LLC was not contractually obligated to

 name Habibi manager of the EMC because neither the Assignment

 Agreement nor the Employment Agreement provide that Habibi will

 manage the EMC.

       The Assignment Agreement gives DigitalNet LLC the exclusive

 right to market, sell, use, and license IC-WEL for a period of

 fifteen months, starting August 16, 2004. In addition, the

 Assignment Agreement gives DigitalNet LLC, during the fifteen

 month time period specified above, the unrestricted option to buy


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 all rights in IC-WEL for $1.5 million. Plaintiffs argue that BAE

 IT LLC and BAE exercised BAE IT LLC’s option to buy IC-WEL by

 filing a provisional patent for IC-WEL, and placing the BAE logo

 on IC-WEL advertisements.

       While BAE IT LLC did file a provisional patent for IC-WEL

 which named itself as the assignee, this does not constitute an

 exercise of BAE IT LLC’s option to buy IC-WEL. The provisional

 patent merely protected BAE IT LLC’s possible ownership rights in

 IC-WEL from elimination by a public disclosure of IC-WEL by

 Habibi. BAE IT LLC never expressed to Habibi that it desired to

 exercise its option to buy IC-WEL or pay Habibi the $1.5 million

 required by the Assignment Agreement. Also, BAE IT LLC did not

 exercise its option to buy IC-WEL by placing the BAE logo on IC-

 WEL advertisements. Not only did the Assignment Agreement give

 BAE IT LLC the express right to market, sell, use, and license

 IC-WEL, but BAE IT LLC’s IC-WEL advertisements did not claim

 ownership of IC-WEL and directed all potential licensees to

 Habibi. Therefore, Defendants are entitled to summary judgment on

 Count 3 of Plaintiffs’ Amended Complaint.

       Count 4 of Plaintiffs’ Amended Complaint alleges that Bajaj,

 Pearlstein, Hanau, DigitalNet LLC, and DigitalNet Holdings (Count

 4 defendants) committed actual fraud by failing to notify

 Plaintiffs of the potential BAE acquisition before August 16,

 2004. Under Virginia law, the elements of actual fraud are “(1) a


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 false representation, (2) of a material fact, (3) made

 intentionally and knowingly, (4) with intent to mislead, (5)

 reliance by the party misled, and (6) resulting damage to the

 party misled.” Evaluation Research Corp. v. Alequin, 247 Va. 143,

 148 (1994). Plaintiffs have failed to establish these elements.

       Plaintiffs have failed to show that the Count 4 defendants

 made any false representations regarding the Assignment Agreement

 or the Employment Agreement. Under Virginia law, “silence cannot

 give rise to liability for fraud in the absence of a duty of

 disclosure.” Sabet v. E. Va. Med. Auth., 775 F.2d 1266, 1270 (4th

 Cir. 1984) (citing Ware v. Scott, 220 Va. 317, 320-21 (1979)).

 The Count 4 defendants had no duty to disclose the potential BAE

 acquisition to Plaintiffs because it was completely immaterial to

 DigitalNet LLC’s respective agreements with Plaintiffs.

       Plaintiffs have failed to show that the potential BAE

 acquisition was material to either of their respective agreements

 with DigitalNet LLC. BAE was seeking to acquire DigitalNet

 Holdings, not DigitalNet LLC, with whom Plaintiffs had

 contracted. While Plaintiffs contend that they would not have

 entered into their respective agreements with DigitalNet LLC if

 they had known about the potential BAE acquisition, such a

 position is not supported by the evidence. The undisputed

 evidence is that (1) prior to August 16, 2004, neither Plaintiffs

 nor the Count 4 defendants had reason to believe that any


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 acquisition of DigitalNet Holdings would effect Plaintiffs’ or

 DigitalNet LLC’s performance of their respective contractual

 obligations to each other; (2) Plaintiffs were given the same

 opportunity to market IC-WEL before and after the BAE

 acquisition; and (3) when Habibi was notified of the BAE

 acquisition he said that it was a positive development.

       Plaintiffs have failed to show that the Count 4 defendants

 intended to mislead Plaintiffs by not disclosing the potential

 BAE acquisition. The undisputed evidence is that the Count 4

 Defendants did not disclose the potential BAE acquisition to

 Plaintiffs before August 16, 2004, because of two good-faith

 business decisions. First, as discussed above, Defendants

 believed that the potential BAE acquisition was immaterial to

 contract negotiations between Plaintiffs and DigitalNet LLC.

 Second, Defendants believed that federal securities law

 prohibited them from disclosing the potential BAE merger. Counsel

 for DigitalNet Holdings advised that disclosure of BAE’s

 potential acquisition of DigitalNet Holdings was prohibited

 because DigitalNet Holdings was a publicly traded company.

       Plaintiffs have failed to show that they relied on the fact

 that DigitalNet LLC would not be acquired by BAE, or any other

 entity, when they entered into their respective agreements with

 DigitalNet LLC. The undisputed evidence is that prior to August

 16, 2004, Plaintiffs never inquired about or expressed concerns


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 regarding the possibility of another company acquiring DigitalNet

 Holdings. Plaintiffs have also failed to show that they have been

 harmed by not being notified of the potential BAE acquisition

 prior to August 16, 2004. While Plaintiffs allege that the BAE

 acquisition limited or eliminated their ability to market IC-WEL

 to commercial entities, such a contention is not supported by the

 evidence. The undisputed evidence is that both before and after

 the BAE acquisition Habibi was supervised by Hanau and that

 Habibi was encouraged and allowed to market IC-WEL to government

 and commercial entities. Therefore, Defendants are entitled to

 summary judgment on Count 4 of Plaintiffs’ Amended Complaint.

       Count 5 of Plaintiffs’ Amended Complaint alleges that Bajaj,

 Pearlstein, Hanau, DigitalNet LLC, and DigitalNet Holdings (Count

 5 defendants) committed constructive fraud by failing to notify

 Plaintiffs of the potential BAE acquisition before August 16,

 2004. Under Virginia law, the elements of constructive fraud are

 (1) a false representation, (2) of a material fact, (3) made

 innocently or negligently, (4) reliance by the party misled, and

 (5) resulting damage to the party misled. Blair Constr., Inc. v.

 Weatherford, 253 Va. 343, 346 (1997). As stated below in the

 Court’s discussion of Count 4 of Plaintiffs’ Amended Complaint,

 the undisputed evidence shows that the Count 5 defendants did not

 make any false representations of material facts to Plaintiffs,

 and Plaintiffs did not rely on, nor were they damaged by, any


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 such representations. Therefore, Defendants are entitled to

 summary judgment on Count 5 of Plaintiffs’ Amended Complaint.

       Count 6 of Plaintiffs’ Amended Complaint alleges that

 Defendants committed conspiracy in violation of Va. Code Ann. §§

 18.2-499 to -500, by failing to notify Plaintiffs of the

 potential BAE acquisition before August 16, 2004. The Virginia

 conspiracy statute is violated when two or more persons conspire

 to willfully and maliciously injure another in his “reputation,

 trade, business or profession.” Va. Code Ann. § 18.2-499. The

 malice required under the Virginia conspiracy statute is “legal

 malice, i.e., that [Defendants] acted intentionally, purposely,

 and without lawful justification.” Commercial Bus. Sys., Inc. v.

 BellSouth Servs., Inc., 249 Va. 39, 47 (1995). Plaintiffs have

 failed to show that Defendants committed conspiracy.

       As the Court stated above in its discussion of Count 4 of

 Plaintiffs’ Amended Complaint, Defendants did not disclose the

 potential BAE acquisition to Plaintiffs before August 16, 2004,

 because of two good-faith business decisions. The undisputed

 evidence is that Defendants believed that the potential BAE

 acquisition was immaterial and non-disclosable. There is no

 evidence that Defendants intentionally and purposely decided not

 to notify Plaintiffs of the potential BAE acquisition so that

 Plaintiffs’ “reputation, trade, business or profession” would be

 injured. Va. Code Ann. § 18.2-499. Therefore, Defendants are


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 entitled to summary judgment on Count 6 of Plaintiffs’ Amended

 Complaint.

       Count 7 of Plaintiffs’ Amended Complaint requests an

 equitable accounting to determine the amount, if any, of IC-WEL

 sales and license fees owed to Plaintiffs. However, as the Court

 stated above in its discussion of Count 3 of Plaintiffs’ Amended

 Complaint, Plaintiffs are not entitled to compensation under the

 Assignment Agreement because (1) none of the profit sharing

 preconditions were met, and (2) Habibi sold zero IC-WEL licenses

 while employed by BAE IT LLC. Therefore, Defendants are entitled

 to summary judgment on Count 7 of Plaintiffs’ Amended Complaint.

       Count 8 of Plaintiffs’ Amended Complaint alleges that BAE IT

 LLC and BAE engaged in false advertising in violation of Va. Code

 Ann. §§ 18.2-216, 59.1-68.3, by placing the BAE logo on IC-WEL

 advertisements. The Virginia false advertising statute is

 violated when an advertisement contains a false representation

 that induces the public to enter into an obligation. Va. Code

 Ann. § 18.2-216. The placement of a BAE logo on an IC-WEL

 advertisement was not a false representation as BAE IT LLC did in

 fact have the right to market, sell, use, and license IC-WEL

 under the Assignment Agreement. The IC-WEL advertisement did not

 state or represent that BAE IT LLC was the owner of IC-WEL,

 rather it referred all potential IC-WEL licensees to Habibi.

 Therefore, Defendants are entitled to summary judgment on Count 8


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 of Plaintiffs’ Amended Complaint.

       An appropriate Order shall issue.



                                                       /s/
                                            ____________________________
                                            CLAUDE M. HILTON
                                            UNITED STATES DISTRICT JUDGE

 Alexandria, Virginia
 April 19, 2006




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